Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 1 of 24   PageID 5790




                     EXHIBIT 1
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 2 of 24                   PageID 5791




                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE
                                    WESTERN DIVISION


    FUSION ELITE ALL STARS, et al.,

                    Plaintiffs,
            v.                                                Civ. Action No. 2:20-cv-02600

    VARSITY BRANDS, LLC, et al.,

                    Defendants.



                                   SETTLEMENT AGREEMENT

          This Agreement is made and entered into this 15th day of March, 2023 (“Execution

   Date”) by and between Defendants and Direct Purchaser Plaintiffs, both individually and on

   behalf of the Settlement Classes specified herein.

          WHEREAS, Direct Purchaser Plaintiffs are prosecuting the Action on their own behalf

   and on behalf of the Settlement Classes;

          WHEREAS, Direct Purchaser Plaintiffs allege that they were injured as a result of certain

   conduct of Defendants as set out in the consolidated complaint in the Action;

          WHEREAS, Defendants deny Direct Purchaser Plaintiffs’ allegations and have asserted

   defenses to Direct Purchaser Plaintiffs’ claims in the Action;

          WHEREAS, arm’s-length settlement negotiations have taken place between Settlement

   Class Counsel and counsel for Defendants, with the assistance of experienced mediators, and this

   Agreement has been reached as a result of those negotiations;

          WHEREAS, Direct Purchaser Plaintiffs, through Interim Co-Lead Class Counsel, have

   conducted an investigation into the facts and the law regarding the Action and have concluded



                                                    1
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 3 of 24                        PageID 5792




   that resolving the claims against Defendants according to the terms set forth herein is in the best

   interest of Direct Purchaser Plaintiffs and the Settlement Classes;

             WHEREAS, this Agreement, if it receives Final Approval, will resolve the Action;

             WHEREAS, Defendants, despite their belief that they are not liable for the claims

   asserted and their belief that they have good defenses thereto, have nevertheless agreed to enter

   into this Agreement to avoid further expense, inconvenience, and the distraction of burdensome

   and protracted litigation, and to obtain the releases, orders, and judgment contemplated by this

   Agreement, and to put to rest with finality all claims arising out of the nucleus of operative facts

   in the consolidated complaint in the Action that have been or could have been asserted against

   Defendants in the Action (defined below as “Released Claims”);

             NOW, THEREFORE, in consideration of the covenants, agreements, and releases set

   forth herein and for other good and valuable consideration, and intending to be legally bound, it

   is agreed by and between Defendants and Direct Purchaser Plaintiffs, both individually and on

   behalf of the Settlement Classes, that the Action be settled, compromised, and dismissed on the

   merits with prejudice as to the Releasees and, except as hereinafter provided, without costs as to

   Direct Purchaser Plaintiffs, the Settlement Classes, or Defendants, subject to the approval of the

   Court, on the following terms and conditions:

             1.     This Agreement shall be construed and interpreted to effectuate the intent of the

   Parties, which is to provide, through this Agreement, for a complete resolution of the Released

   Claims with respect to each Releasee as provided in this Agreement in exchange for the payment

   of the Settlement Amount by Defendants and other consideration and commitments set forth

   herein.




                                                     2
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 4 of 24                         PageID 5793




      A. Definitions.

          2.      The definitions in this section apply throughout the Agreement wherever the

   defined terms are used, including in the preamble. Other definitions are contained in the text of

   the Agreement and indicated as such.

          3.      “Agreement” means this settlement agreement.

          4.      “Action” means the case captioned Fusion Elite All Stars, et al. v. Varsity Brands,

   LLC, et al., pending in the United States District Court for the Western District of Tennessee,

   Civil Action No. 2:20-cv-02600.

          5.      “Defendants” means Defendants in the Action, in particular Varsity Brands, LLC,

   Varsity Spirit, LLC, Varsity Spirit Fashions & Supplies, LLC (collectively, “Varsity”), and the

   U.S. All Star Federation, Inc. (the “USASF”).

          6.      “Direct Purchaser Plaintiffs” means those members of the Settlement Classes who

   are Plaintiffs in the Action, namely: Fusion Elite All Stars; Spirit Factor LLC d/b/a Fuel

   Athletics; Stars and Stripes Gymnastics Academy Inc. d/b/a Stars and Stripes Kids Activity

   Center; Kathryn Anne Radek; Lauren Hayes; and Janine Cherasaro.

          7.      “Parties” means Defendants and Direct Purchaser Plaintiffs and “Party” shall

   mean any one of the Parties.

          8.      “Releasees” shall refer jointly and severally, individually and collectively, to

   Defendants, their respective past and present, direct and indirect, parents, subsidiaries, affiliates,

   divisions, predecessors, successors, and insurers, and their respective past and present officers,

   directors and employees. “Releasees” shall also include any direct or indirect majority or

   minority investor in any Releasee, as well as their respective past and present, direct and indirect,

   parents, subsidiaries, affiliates, divisions, predecessors, successors, indemnitors, and insurers,




                                                      3
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 5 of 24                           PageID 5794




   and their respective past and present officers, directors, advisors, independent consultants,

   partners, and employees, and any entity that managed, manages, advised, or advises any fund or

   managed account that made a direct or indirect investment in any Releasee at any time and, as to

   each such entity, its past and present, direct and indirect, parents, subsidiaries, affiliates,

   divisions, predecessors, successors, indemnitors, and insurers, and their respective past and

   present officers, directors , advisors, independent consultants, partners, and employees. Without

   in any way limiting the foregoing, Releasees shall include all of the entities listed in Appendix A

   as well as their respective past and present, direct and indirect, parents, subsidiaries, affiliates,

   divisions, predecessors, successors, and insurers, and their respective past and present officers,

   directors, advisors, independent consultants, partners, and employees.

           9.      “Releasors” shall refer to Settlement Class Members, as well as each of their

   respective past and present parents, subsidiaries, affiliates, divisions, predecessors, successors,

   and their respective past and present officers, directors, and employees.

           10.     “Settlement Amount” means forty-three million, five hundred thousand United

   States dollars ($43,500,000).

           11.     “Settlement Classes” shall refer to the following:

                   “Gym Class”: All entities that paid registration or related fees and expenses
                   directly to Varsity to participate in Varsity All Star Events from May 26, 2016
                   through the Execution Date (the “Class Period”). Excluded from the Class are
                   Defendants, their parent companies, subsidiaries, affiliates, franchisees, officers,
                   executives, and employees; any entity that is or has been partially or wholly
                   owned by one or more Defendants or their respective subsidiaries; States and their
                   subdivisions, agencies and instrumentalities; and any judicial officer presiding
                   over this matter and his or her staff, except that officers of USASF, who are not
                   employees of any of Defendants, their parent companies, subsidiaries, affiliates,
                   or franchisees shall not be excluded from the Class.

                   “Spectator Class”: All persons who paid entrance (admission) or other fees and
                   expenses directly to Varsity to observe Varsity All Star Events during the Class
                   Period. Excluded from the Class are Defendants, their parent companies,
                   subsidiaries, affiliates, franchisees, officers, executives, and employees; any entity


                                                      4
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 6 of 24                       PageID 5795




                  that is or has been partially or wholly owned by one or more Defendants or their
                  respective subsidiaries; States and their subdivisions, agencies and
                  instrumentalities; and any judicial officer presiding over this matter and his or her
                  staff, except that officers of USASF who are not employees of any of Defendants,
                  their parent companies, subsidiaries, affiliates, or franchisees shall not be
                  excluded from the Class.

            12.   “Settlement Class Counsel” and “Interim Co-Lead Class Counsel” mean the

   following law firms: Berger Montague PC; DiCello Levitt LLC; and Cuneo Gilbert & Laduca,

   LLP. 1

            13.   “Settlement Class Member” means each member of the Settlement Classes

   who/that has not timely and validly elected to be excluded from one of the Settlement Classes.

            14.   “Settlement Fund” means the Settlement Amount plus accrued interest as set forth

   in Paragraph 25.

       B. Approval of this Agreement and Dismissal of Claims Against Defendants.

            15.   Except as otherwise provided herein, on the Execution Date, Direct Purchaser

   Plaintiffs and Defendants shall be bound by this Agreement, and this Agreement shall not be

   rescinded except in accordance with Paragraph 39 of this Agreement.

            16.   Direct Purchaser Plaintiffs and Defendants shall use their best efforts to effectuate

   this Agreement, including cooperating in seeking the Court’s approval for the establishment of

   procedures (including the giving of class notice under Federal Rules of Civil Procedure 23) to

   secure the complete and final dismissal with prejudice of the Action.

            17.   Direct Purchaser Plaintiffs shall submit to the Court, on the docket of the Action,

   a motion seeking preliminary approval of this Agreement (the “Preliminary Approval Motion”).



   1
    “Interim Liaison Class Counsel” means Branstetter, Stranch & Jennings, PLLC. “Interim Class
   Counsel” or “Class Counsel” means Interim Liaison Class Counsel and Interim Co-Lead Class
   Counsel.



                                                    5
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 7 of 24                       PageID 5796




   The Preliminary Approval Motion shall include the proposed form of an order preliminarily

   approving this Agreement. No fewer than seven (7) business days before filing, Direct Purchaser

   Plaintiffs shall submit a draft of the Preliminary Approval Motion to Defendants for their review

   and approval, which approval shall not be unreasonably withheld.

          18.     Direct Purchaser Plaintiffs shall submit to the Court, on the docket of the Action,

   a motion for authorization to disseminate notice of the settlement and final judgment

   contemplated by this Agreement to the Settlement Classes (the “Notice Motion”). The Notice

   Motion shall include a proposed form of, method for, and proposed dates of dissemination of

   notice. No fewer than seven (7) business days before filing, Direct Purchaser Plaintiffs shall

   submit a draft Notice Motion to Defendants for their review. Direct Purchaser Plaintiffs shall

   reasonably consider Defendants’ comments on the Notice Motion. Direct Purchaser Plaintiffs

   may combine the Preliminary Approval Motion and Notice Motion into a single motion at their

   discretion.

          19.     Within ten (10) days of receiving any request for exclusion from the Settlement

   Classes, Settlement Class Counsel shall cause copies of requests for exclusion from the

   Settlement Classes to be provided to counsel for Defendants. With respect to any potential

   Settlement Class Member who requests exclusion from one or both of the Settlement Classes,

   Defendants reserve all of their legal rights and defenses. Direct Purchaser Plaintiffs, by and

   through Interim Co-Lead Class Counsel, and Defendants are executing a “Supplemental

   Agreement” setting forth certain conditions under which (and the terms regarding which), this

   Settlement Amount may be reduced if a sufficient number of potential Settlement Class

   Members, collectively representing a certain share of the total relevant sales, timely exclude

   themselves from the Settlement Classes. The Supplemental Agreement shall not be filed with




                                                    6
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 8 of 24                        PageID 5797




   the Court except that the substantive contents of the Supplemental Agreement may be brought to

   the attention of the Court, in camera, if so requested by the Court or as otherwise ordered by the

   Court. The Parties will keep the terms of the Supplemental Agreement confidential, except if

   compelled by judicial process to disclose the Supplemental Agreement.

          20.     Direct Purchaser Plaintiffs shall seek, and Defendants will not object

   unreasonably to, the entry of a final judgment order in the Action, the text of which Direct

   Purchaser Plaintiffs and Defendants shall agree on, and such agreement will not be unreasonably

   withheld. The terms of that proposed final judgment order will include, at a minimum, the

   substance of the following provisions:

          (a)     certifying the Settlement Classes described in Paragraph 11 pursuant to Rule 23 of

   the Federal Rules of Civil Procedure, solely for purposes of this settlement, as settlement classes;

          (b)     finding, solely for the purposes of this settlement, that Direct Purchaser Plaintiffs

   are adequate class representatives and satisfy all of the other provisions of Rule 23(a) of the

   Federal Rules of Civil Procedure, and any other provisions of Rule 23 required by law to secure

   certification of the Settlement Classes;

          (c)     approving finally this settlement and its terms as being fair, reasonable and

   adequate as to the Settlement Class Members within the meaning of applicable law, including

   Rule 23 of the Federal Rules of Civil Procedure, and directing the settlement’s consummation

   according to the terms of this Agreement;

          (d)     finding that notice provided to the Settlement Classes satisfied the requirements

   of Rule 23 and the due process clause of the U.S. Constitution;

          (e)     as to Defendants, directing that the Action be dismissed with prejudice and,

   except as provided for in this Agreement, without costs;




                                                    7
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 9 of 24                         PageID 5798




          (f)     reserving exclusive jurisdiction over the settlement and this Agreement, including

   the interpretation, administration, and consummation of the settlement, to the United States

   District Court for the Western District of Tennessee;

          (g)     determining under Federal Rule of Civil Procedure 54(b) that there is no just

   reason for delay and directing that the judgment of dismissal as to Defendants shall be final;

          (h)     providing that (i) the Court’s certification of the Settlement Classes is without

   prejudice to, or waiver of, the rights of any person or entity, including Defendants, to contest

   certification of any other class proposed in any other case, including Jones, et al. v. Varsity

   Brands, LLC, et al., No. 2:20-cv-02892 (W.D. Tenn.) and American Spirit and Cheer Essentials,

   Inc. et al. v. Varsity Brands, LLC, et al., No. 2:20-CV-02782 (W.D. Tenn.) (the “Related

   Cases”); (ii) the Court’s findings in the final judgment order shall have no effect on the Court’s

   ruling on any motion to certify any class in the Related Cases or on the Court’s rulings

   concerning any other motion; and (iii) no Party may cite or refer to the Court’s approval of the

   Settlement Class as persuasive or binding authority in support of any motion to certify any such

   class; and

          (i)     precluding all Settlement Class Members from asserting or prosecuting any of the

   Released Claims against any Releasee.

          21.     This Agreement shall become final when (i) the Court has entered a final order

   certifying the Settlement Classes and approving this Agreement under Federal Rule of Civil

   Procedure 23(e) and a final judgment order has been entered dismissing the Action with

   prejudice as to Defendants and without costs other than those provided for in this Agreement,

   and (ii) the time for appeal or to seek permission to appeal from the Court’s approval of this

   Agreement and entry of a final judgment as to Defendants described in (i) hereof has expired or,




                                                     8
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 10 of 24                         PageID
                                    5799



 if appealed, approval of this Agreement and the final judgment as to Defendants have been

 affirmed in their entirety by the Court of last resort to which such appeal has been taken and such

 affirmance has become no longer subject to further appeal or review.

        22.     Neither this Agreement (whether or not it becomes final), the final judgment, nor

 any negotiations, documents and discussions associated with them shall be deemed or construed

 to be: (a) an admission by Defendants, Direct Purchaser Plaintiffs, or Settlement Class Members,

 or (b) evidence of any violation of any statute or law or of any liability or wrongdoing

 whatsoever by Defendants, or used against Defendants as evidence of the truth of any of the

 claims or allegations contained in any complaint in the Action or in the Related Cases or other

 proceeding, and evidence thereof shall not be discoverable or used in any way, whether in the

 Related Cases, arbitration, or other proceeding, against Defendants, or (c) evidence of

 exoneration for any violation of any statute or law or of the absence of any liability or

 wrongdoing whatsoever by Defendants. Neither this Agreement, any of its terms and provisions,

 any of the negotiations or proceedings connected with it, nor any other action taken to carry out

 this Agreement by Defendants, Direct Purchaser Plaintiffs, or Settlement Class Members, shall

 be discoverable if not public, referred to, offered as evidence, or received in evidence in any

 pending or future civil, criminal, or administrative action, arbitration, or proceedings, except in a

 proceeding to enforce this Agreement, or to defend against the assertion of Released Claims, or

 as otherwise required by law.

    C. Release, Discharge, and Covenant Not to Sue.

        23.     In addition to the effect of any final judgment order entered in accordance with

 this Agreement, upon this Agreement becoming final as set out in Paragraph 21, and in

 consideration of payment of the Settlement Amount, as specified in Paragraph 26, and for other




                                                   9
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 11 of 24                                PageID
                                    5800



 valuable consideration, including as specified in this Agreement, the Releasees shall be

 completely released, acquitted, and forever discharged from any and all claims, demands,

 actions, suits, causes of action, whether class, individual, or otherwise in nature (whether or not

 any Settlement Class Member has objected to the settlement or makes a claim upon or

 participates in distribution of the Settlement Fund, whether directly, representatively,

 derivatively or in any other capacity) under any federal, state or local law of any jurisdiction in

 the United States, that Releasors, or each of them, ever had, now have, or hereafter can, shall, or

 may ever have, that now exist or may exist in the future, on account of, or in any way arising out

 of, any and all known and unknown, foreseen and unforeseen, suspected or unsuspected, actual

 or contingent, liquidated or unliquidated claims, injuries, damages, and the consequences thereof

 relating in any way to the nucleus of operative facts alleged in the complaint in the Action prior

 to the Execution Date that were made or could have been made in the Action by Direct Purchaser

 Plaintiffs or Settlement Class Members against the Releasees, including all direct purchaser

 claims relating to Varsity and/or USASF’s involvement in the cheerleading industry based in any

 way on conduct or events arising out of the nucleus of operative facts alleged in the consolidated

 complaint in the Action, that occurred through the Execution Date. Notwithstanding the

 foregoing, any claims based on indirect purchases by Settlement Class Members or Releasors

 that may exist under the law of one or more U.S. states will not be released. In addition, and

 notwithstanding the foregoing, claims arising in the ordinary course between (a) any of the

 Releasees, on the one hand, and (b) Direct Purchaser Plaintiffs, Settlement Class Members or

 Releasors, on the other, and arising under Article 2 of the Uniform Commercial Code (pertaining

 to sales) or similar state laws, the laws of negligence or product liability, strict liability, or

 implied warranty, breach of contract, breach of express warranty, or personal injury, will also not




                                                    10
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 12 of 24                          PageID
                                    5801



 be released. The claims described as being released in this paragraph are referred to herein as the

 “Released Claims.”

        24.     After the Execution Date, Releasors shall not seek to establish liability against

 any Releasee as to, in whole or in part, any of the Released Claims unless the Agreement, for any

 reason, does not become final, or is rescinded or otherwise fails to become effective. Further,

 unless the Agreement is rescinded or otherwise fails to become effective, Class Counsel and

 Direct Purchaser Plaintiffs shall likewise not voluntarily assist counsel or plaintiffs in the Related

 Cases or counsel or counter-plaintiffs in Case No. 6:21-cv-0135-WWB-DCI, U.S. All Star

 Federation, Inc. v. Open Cheer & Dance Championship Series, LLC (M.D. Fla.) in pursuing

 their claims. Notwithstanding the above, nothing in this Paragraph 24 shall prevent anyone from

 complying with a court order or subpoena issued by a court of competent jurisdiction.

        25.     In addition to the provisions of Paragraphs 23 and 24 of this Agreement,

 Releasors hereby expressly waive and release, solely with respect to the Released Claims, upon

 this Agreement becoming final, any and all provisions, rights, and benefits conferred by § 1542

 of the California Civil Code, which states:

                A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT
                THE CREDITOR OR RELEASING PARTY DOES NOT KNOW
                OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME
                OF EXECUTING THE RELEASE AND THAT, IF KNOWN BY
                HIM OR HER, WOULD HAVE MATERIALLY AFFECTED HIS
                OR HER SETTLEMENT WITH THE DEBTOR OR RELEASED
                PARTY;

 or by any law of any state or territory of the United States or other jurisdiction, or principle of

 common law, which is similar, comparable, or equivalent to § 1542 of the California Civil Code.

 Each Releasor may hereafter discover facts other than or different from those which he, she, or it

 knows or believes to be true with respect to the claims that are released pursuant to the




                                                   11
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 13 of 24                        PageID
                                    5802



 provisions of this Agreement, but each Releasor hereby expressly waives and fully, finally, and

 forever settles and releases, upon this Agreement becoming final, any known or unknown,

 suspected or unsuspected, contingent or non-contingent claim that Direct Purchaser Plaintiffs

 have agreed to release, whether or not concealed or hidden, without regard to the subsequent

 discovery or existence of such different or additional facts.

    D. Settlement Amount.

        26.     Subject to the provisions of Paragraph 19, Varsity shall pay the Settlement

 Amount by wire transfer into an escrow account in United States Dollars to be administered in

 accordance with the provisions of Paragraphs 31 to 34 (the “Escrow Account”) on the following

 schedule: First installment of $2 million, which may be used for purposes of class administration

 (including class notice), shall be paid within 30 days of preliminary approval of the settlement by

 the Court. The second installment of $28 million shall be paid on or before December 1, 2023.

 The third and final installment of $13.5 million shall be paid on or before December 1, 2024.

 Under no circumstances shall Defendants be required to pay more than the Settlement Amount as

 part of this Agreement.

        27.     In light of the monetary settlement with Varsity, Plaintiffs will not look to USASF

 for any monetary compensation of any kind.

        28.     Releasors shall look solely to the Settlement Fund for settlement and satisfaction,

 as provided herein, of all Released Claims against the Releasees, and shall have no other

 monetary recovery against Defendants or any other Releasee for the Released Claims.

    E. Prospective Relief.

        29.     For purposes of this Section E of this Agreement only, the term “All Star Gym”

 means a person or entity that organizes one or more cheerleading teams to compete in “All Star




                                                  12
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 14 of 24                        PageID
                                    5803



 Events,” which are events at which several All Star Teams compete against each other in the

 choreographed performance of routines comprised of combinations of stunts, pyramids,

 dismounts, tosses, and/or tumbling. “Event Producer” and “All Star Event Producer” means a

 person or entity that produces one or more All Star Events. A “Worlds Bid” is the opportunity to

 participate in Worlds, a particular All Star Event organized by USASF.

        30.      From the date of Final Approval through and including December 31, 2028:

    (a) Varsity will not offer contracts or programs with All Star Gyms relating in whole or part

        to fees or payments associated with registering for, or attending, All Star Events that:

        1) If a contract, have a term longer than one year (except that existing contracts and

              programs will be permitted to run to their term); or

        2) Require attendance at more than three All Star Events during a single regular season

              as a condition of receiving Varsity’s lowest tier of rebates or discounts.

        3) Notwithstanding the foregoing, if one or more All Star Event Producers propose

              rebate or discount programs regarding which Varsity would be prohibited from

              engaging by the terms of this Agreement (“Prohibited Programs”), Varsity shall be

              permitted to respond by matching the rebate and/or discount offerings of such

              competitors but only so long and insofar as one or more such competitors maintain(s)

              such Prohibited Programs.

    (b) No person shall simultaneously serve on the boards of Varsity (or any other Varsity

        entity) and USASF. The phrase “other Varsity entity” as used herein refers to any parent

        or subsidiary of Varsity or any entity under common ownership with Varsity.

    (c) Varsity may not, directly or indirectly, pay the salaries of any USASF employees or

        executives or provide other benefits to USASF employees or executives. For the




                                                   13
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 15 of 24                         PageID
                                    5804



       avoidance of doubt, this provision does not preclude payments to USASF for services

       provided by USASF employees in the ordinary course of business, which are also

       available to other Event Producers, such as for roster verification or judge training, nor

       does it preclude payments to USASF employees to the extent they provide services as

       judges or legality officials as independent contractors.

    (d) No more than 1/3 of the voting board seats on USASF’s Board of Directors may be

       occupied by any single Event Producer (whether through one entity or multiple affiliated

       entities with common/overlapping ownership or management). In the event that one or

       more voting seats on USASF’s Board of Directors becomes empty for any reason

       (including, e.g., death, resignation, termination, etc.), and as a result, a single Event

       Producer holds more than 1/3 of the voting board seats then filled, USASF shall take all

       reasonable measures to fill the empty voting board seat(s) such that the 1/3 limitation is

       satisfied within four (4) months of the event causing the vacancy. USASF may not,

       consistent with this Agreement, intentionally distort its rules or procedures to cause a

       USASF board seat to become empty as a means to allow a single Event Producer to

       control more than 1/3 of the seats.

    (e) No more than 40% of the seats on USASF’s Sanctioning Committee may be occupied by

       any single Event Producer (whether through one entity or multiple affiliated entities with

       common/overlapping ownership or management). The calculation shall take place on

       August 1 of each year, and if this limitation is satisfied as of that date, it shall be deemed

       satisfied for the next 12 months. In other words, in the event that, after August 1 during a

       calendar year, an Event Producer terminates its USASF membership or loses its Worlds

       Bid, either of which would result in the Event Producer losing its seat on the Sanctioning




                                                 14
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 16 of 24                           PageID
                                    5805



        Committee under currently existing USASF rules, USASF shall not be required to re-

        allocate seats on its Sanctioning Committee or remove other members of the Sanctioning

        Committee prior to August 1 of the following year. USASF may not, consistent with this

        Agreement, intentionally distort its rules or procedures to cause a Sanctioning Committee

        seat to become empty as a means to allow a single Event Producer to control more than

        40% of the seats.

    (f) After implementing the changes set forth above with respect to USASF’s Board of

        Directors and Sanctioning Committee, USASF commits to continuing to evaluate

        proposals from its membership that are properly brought to its Board of Directors or an

        appropriate committee, in accordance with its policies and procedures. USASF may not,

        consistent with this Agreement, adopt rules or procedures that would have the effect of

        prohibiting or deterring USASF members from making any proposals for consideration

        by the USASF board or appropriate USASF committees.

    F. Escrow Account and Settlement Fund.

        31.     An Escrow Account shall be maintained at Huntington National Bank to hold the

 Settlement Fund. Such escrow shall be administered subject to the provisions of this Agreement,

 including Paragraph 34, below.

        32.     The Escrow Account is intended by the parties hereto to be treated as a “qualified

 settlement fund” within the meaning of Treas. Reg. § 1.468B-1, and to that end the parties hereto

 shall cooperate with each other and shall not take a position in any filing or before any tax

 authority that is inconsistent with such treatment. At the request of Defendants, a “relation back

 election” as described in Treas. Reg. § 1.468B-1(j) shall be made so as to enable the Escrow

 Account to be treated as a qualified settlement fund from the earliest date possible, and the




                                                 15
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 17 of 24                         PageID
                                    5806



 parties shall take all actions as may be necessary or appropriate to this end. At the direction of

 Settlement Class Counsel, taxes or estimated taxes shall be paid on any income earned on the

 funds in the Escrow Account, whether or not final approval has occurred, as provided in

 Paragraph 21, above. In the event federal or state income tax liability is finally assessed against

 and paid by Defendants as a result of any income earned on the funds in the Escrow Account,

 Defendants shall be entitled to reimbursement of such payment from the funds in the Escrow

 Account after approval of the Court and whether or not final approval has occurred. Except as

 set forth in this Paragraph, Defendants and any Releasee, and their respective counsel, shall have

 no responsibility to make any tax filings related to the Settlement Fund or to pay any taxes or tax

 expenses with respect thereto, and neither Defendants nor any Releasee nor their respective

 counsel shall have any liability or responsibility for the taxes or expenses incurred in connection

 with taxation matters.

        33.     All payments into the Escrow Account, including any income earned thereon,

 shall, at the direction of Settlement Class Counsel, be invested in instruments or accounts backed

 by the full faith and credit of the United States Government or fully insured by the United States

 Government or an agency thereof, including U.S. Treasury Bills, U.S. Treasury Money Market

 Funds or a bank account insured by the Federal Deposit Insurance Corporation (“FDIC”) up to

 the guaranteed FDIC limit. Any interest earned on any of the foregoing shall become part of the

 Settlement Fund. Defendants shall have no responsibility for, or liability in connection with, the

 Settlement Fund or the Escrow Account, including, without limitation, the investment,

 administration, maintenance, or distribution thereof.

        34.     All funds held in the Escrow Account shall be deemed and considered to be in

 custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until such




                                                  16
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 18 of 24                         PageID
                                    5807



 time as the Settlement Fund shall be distributed pursuant to this Agreement and/or order(s) of the

 Court.

    G. Expenses, Settlement Class Counsel’s Attorneys’ Fees, and Service Awards for Class
       Representatives.

          35.   Reasonable disbursements for (a) expenses associated with providing notice of the

 settlement to the Settlement Class, (b) reasonable expenses for maintaining and administering the

 Settlement Fund, (c) reasonable expenses associated with developing and preparing an allocation

 plan for distributing the proceeds of the net Settlement Fund to members of the Settlement

 Classes, and (d) taxes and reasonable expenses incurred in connection with taxation matters may

 be paid without approval from the Court and shall not be refundable to Defendants in the event

 the Agreement is disapproved, rescinded, or otherwise fails to become effective or final, to the

 extent such expenses have actually been expended or incurred. No other disbursement from or

 distribution of the Settlement Fund shall be made without prior approval of the Court.

          36.   If this Agreement does not become final within the meaning of Paragraph 21, then

 all amounts paid by Defendants into the Settlement Fund (other than costs expended or incurred

 in accordance with Paragraph 35) shall be returned to Defendants from the Escrow Account

 along with any interest accrued thereon within thirty (30) calendar days of the Court’s denial of

 final approval of the Agreement and/or the Settlement Classes.

          37.   If this Agreement becomes final within the meaning of Paragraph 21: (1) the

 Settlement Fund shall be distributed in accordance with a plan to be submitted to the Court at the

 appropriate time by Settlement Class Counsel, subject to approval by the Court; (2) no Releasee

 shall have any responsibility, financial obligation, or liability whatsoever with respect to the

 investment, distribution, or administration of the Settlement Fund, including, but not limited to,

 the costs and expenses of such investment, distribution or administration; and (3) Defendants



                                                  17
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 19 of 24                         PageID
                                    5808



 shall have no reversionary interest in any of the Settlement Funds or interest thereon, which

 interest shall be for the benefit of the Settlement Classes and Class Counsel. Subject to Court

 approval, Class Counsel shall be reimbursed and paid solely out of the Settlement Fund for all

 past, current, or future litigation costs and expenses and any award of attorneys’ fees. Service

 awards to the Direct Purchaser Plaintiffs, if approved by the Court, will be paid solely out of the

 Settlement Fund. Defendants shall not oppose any reasonable requests for service awards for

 Direct Purchaser Plaintiffs.

        38.     Subject to the posting of appropriate security for any funds paid under this

 paragraph and Court approval, attorneys’ fees and costs and expenses awarded by the Court shall

 be payable from the Settlement Fund upon being awarded by order of the Court, notwithstanding

 the existence of any timely-filed objections thereto, or potential appeal therefrom, or collateral

 attack on the settlement or any part thereof, including on the award of attorneys’ fees and costs,

 subject to Settlement Class Counsel’s obligation to make appropriate refunds or repayments to

 the Settlement Fund, if and when, as a result of any appeal or further proceedings on remand, or

 successful collateral attack, the fee or award of costs and expenses is reduced or reversed, or in

 the event the settlement does not become final or is rescinded or otherwise fails to become

 effective. Settlement Class Counsel shall provide an assurance from a financial institution that is

 approved by Varsity, which approval shall not be unreasonably withheld by Varsity, that such

 refunds to the Settlement Fund will be made in the event that Settlement Class Counsel defaults

 on any obligation under this paragraph. If the provisions of this paragraph are followed,

 Defendants shall not object to such disbursements.

        39.     The procedure for and the allowance or disallowance by the Court of the

 application by Settlement Class Counsel for attorneys’ fees, costs and expenses, and service




                                                  18
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 20 of 24                           PageID
                                    5809



 awards for class representatives to be paid out of the Settlement Fund are to be considered by the

 Court separately from the Court’s consideration of the fairness, reasonableness and adequacy of

 the settlement, and any order or proceeding relating to a request for attorneys’ fees and

 reimbursement of costs and expenses, or service awards, or any appeal from any such order shall

 not in itself operate to terminate or cancel this Agreement.

    H. Rescission.

        40.     If the Court refuses to approve this Agreement or any part hereof, including if the

 Court does not certify the Settlement Classes in accordance with the specific Settlement Class

 definitions set forth in this Agreement, or if such approval is modified or set aside on appeal, or

 if the Court does not enter the final judgment provided for in Paragraph 21 of this Agreement, or

 if the Court enters the final judgment and appellate review is sought, and on such review, such

 final judgment is not affirmed in its entirety, then each of Defendants and Direct Purchaser

 Plaintiffs shall, in its/his/her sole discretion, have the option to rescind this Agreement in its

 entirety within thirty (30) calendar days of the entry into the docket of the court of the relevant

 court decision. Written notice of the exercise of any such right to rescind shall be made

 according to the terms of Paragraph 49.

        41.     In the event that this Agreement does not become final as set forth in Paragraph

 21, or this Agreement otherwise is terminated, then this Agreement shall be of no force or effect

 and any and all parts of the Settlement Fund in the Escrow Account (including interest earned

 thereon) plus any disbursements made from the Settlement Fund under Paragraph 38, shall be

 returned to Defendants within thirty (30) calendar days. For the avoidance of doubt, the full

 portion of the Settlement Amount that Varsity has paid, less only disbursements made in

 accordance with Paragraph 35, shall be so returnable. Defendants and Direct Purchaser Plaintiffs




                                                   19
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 21 of 24                        PageID
                                    5810



 expressly reserve all their respective claims, rights, and defenses if this Agreement does not

 become final.

     I. Class Action Fairness Act

         42.     Defendants shall comply with the requirements of the Class Action Fairness Act

 of 2005, 28 U.S.C. § 1715(b) (“CAFA”), including providing any notices required thereby.

     J. Miscellaneous.

         43.     This Agreement shall be governed by and interpreted according to the substantive

 laws of the state of Tennessee without regard to its choice of law or conflict of laws principles.

 Defendants will not object to complying with any of the provisions outlined in this Agreement

 on the basis of jurisdiction.

         44.     The United States District Court for the Western District of Tennessee shall retain

 jurisdiction over the implementation, interpretation, enforcement, and performance of this

 Agreement, and shall have exclusive jurisdiction over any suit, action, proceeding, or dispute

 arising out of or relating to the Agreement or the applicability of the Agreement that cannot be

 resolved by negotiation and agreement by Direct Purchaser Plaintiffs and the Settlement Classes

 and Defendants, including challenges to the reasonableness of any Party’s actions.

         45.     This Agreement constitutes the entire, complete, and integrated agreement among

 Direct Purchaser Plaintiffs and the Settlement Classes and Defendants pertaining to the

 settlement of the Action against Defendants, and supersedes all prior and contemporaneous

 undertakings, communications, representations, understandings, negotiations, and discussions,

 either oral or written, between Direct Purchaser Plaintiffs and Defendants in connection

 herewith. This Agreement may not be modified or amended except in writing executed by

 Direct Purchaser Plaintiffs and Defendants, by their respective counsel, and approved by the




                                                  20
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 22 of 24                         PageID
                                    5811



 Court.

          46.   This Agreement shall be binding upon, and inure to the benefit of, the successors

 and assigns of Direct Purchaser Plaintiffs and Defendants. Without limiting the generality of the

 foregoing, upon final approval of this Agreement, each and every covenant and agreement made

 herein by Direct Purchaser Plaintiffs or Settlement Class Counsel shall be binding upon all

 Settlement Classes Members and all Releasors. To the extent not parties to this Agreement, the

 Releasees are intended by the Parties to be third-party beneficiaries of this Agreement and are

 authorized to enforce its terms as applicable to them.

          47.   This Agreement may be executed in counterparts, and a facsimile or other

 electronic signature shall be deemed an original signature for purposes of executing this

 Agreement.

          48.   No Party shall be considered to be the drafter of the Agreement or any of its

 provisions for the purpose of any statute, case law, or rule of interpretation or construction that

 would or might cause any provision to be construed against the drafter of the Agreement.

          49.   Where the Agreement requires any Party to provide notice or any other

 communication or document to another party, such notice shall be in writing, and such notice,

 communication or document shall be provided by electronic mail to the undersigned counsel of

 record for the party to whom notice is being provided.

          50.   Each of the undersigned attorneys represents that he or she is fully authorized to

 enter into the terms and conditions of, and to execute, the Agreement subject to Court approval,

 on behalf of the indicated parties.




                                                  21
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 23 of 24   PageID
                                    5812
Case 2:20-cv-02600-SHL-tmp Document 329-2 Filed 03/24/23 Page 24 of 24   PageID
                                    5813



                                       APPENDIX A

 Varsity Brands, LLC
 Varsity Spirit LLC
 Varsity Spirit Fashions & Supplies, LLC
 BCPE Hercules Holdings, LP (Delaware)
 BCPE Hercules VB Topco, Inc. (Delaware)
 BCPE Hercules Achievement Topco, Inc. (Delaware)
 U.S. All Star Federation, Inc.
 Bain Capital, LP
 Bain Capital Private Equity
 Bain Capital Fund XII, L.P.
 BCIP Associates V, LP
 Bain Capital Fund (Lux) XII, SCSp
 Bain Capital Fund (DE) XII, L.P.
 BCIP Associates V-B, LP
 Randolph Street Ventures, L.P. 2018-88
 Charlesbank Capital Partners, LLC
 Charlesbank Associates Fund IX, Limited Partnership
 Charlesbank Equity Fund VIII, Limited Partnership
 Charlesbank Equity Fund VII, Limited Partnership
 CB Offshore Equity Fund VIII, L.P.
 CB Offshore Equity Fund VII, L.P.
 CB Parallel Fund VII, Limited Partnership
 Charlesbank Equity Coinvestment Fund VIII, Limited Partnership
 Charlesbank Equity Coinvestment Fund VII, Limited Partnership
 CB Associates Fund VIII, Limited Partnership
 Charlesbank Equity Fund IX, Limited Partnership
 CB Offshore Equity Fund IX, Limited Partnership
 Charlesbank Executives Fund IX, Limited Partnership
 CB Hercules Holdings, LLC




                                             23
